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                IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                           )
                                                           )
UNITED STATES OF AMERICA,                                  )

                 vs.                                       ~ No. _l_1_'1_1_)_J_'f·-~;x,_
                                                           )
                                                           )
PA f¥-lC~ A-C.\~NODefendant.                               )
                                                           )


       TYPE OF CONFERENCE/HEARING: _ _ _~_tM_b_t_i                                   4------
                                                Before Judge Ambrose
       ,_
        1 -r ~ ::w, ,,_..J' -   Ml   J ' _.                               ~IH             ~1'i,~"1VJ
                                                                 Appear for Defendant


Hearing begun: _ ,J,--1l_'t-1,   q~-'o_.·it_a_·_AN\_                            ~_{l'---~~a,-r_i,_JG-
                                                                Stenographer: _ _                  _ __

~earing concluded:       "I II,
                        I l'I                 II ·.IO AM        Clerk:   Sherry Halfhill / Carolyn Allen
                                                                         ~ I Susan Schupansky




                                                               to ~llQW,
